UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF INDIANA

 

 

SERGEANT JAMES BUCHMANN,
OFFICER MICHAEL PRICE, and
TASER INTERNATIONAL, INC.,

Defendants.

SOUTH BEND DIVISION

CHELSEA KELLY, as Personal Representative )
of the ESTATE OF DELANO SMITH, ) >
) A

Plaintiff, )

)

CITY OF ELKHART, )

OFFICER BRUCE ANGLEMYER, )

* CORPORAL NORM FRIEND, )

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NOTICE OF REMOVAL

Defendant TASER International, Inc. (“TASER”), pursuant to 28 U.S.C. §§ 1331, 1441, and
1446, hereby removes this case from the Elkhart Circuit Court, State of Indiana, where it is now
pending, to the United States District Court for the Northern District of Indiana. In support,
TASER states as follows:

1. Plaintiff Chelsea Kelly filed her complaint on January 5, 2012. The complaint
currently pends in the Elkhart Circuit Court, State of Indiana, as Cause No. 20C01-1201-CT-005.

2. On January 10, 2012, TASER received service of process via certified mail on its
registered agent, and at that ttme TASER had actual notice of this action.
3. This notice of removal has been filed timely in that it has occurred within thirty days
of the initial pleading’s service. See 28 U.S.C. § 1446(b).

4. This Court has original subject matter jurisdiction over this case pursuant to 28

U.S.C. §§ 1331 and 1441 (a). Kelly has alleged a federal question arising under 42 U.S.C. §§ 1983 and
1988, including questions arising under the “Fourth, Fifth, and Fourteenth Amendments to the
United States Constitution and [] the laws of the United States [Compl.[]1,6].

5. Defendants have consulted on this removal. All consent to removal.

6. A copy of all process, pleadings, and orders served on TASER in this action are
attached as Exhibit A. See 28 U.S.C. § 1446(a).

7. AA notice of this removal will be filed with the Elkhart Circuit Court, State of Indiana,
and a copy of this notice will be served on Plaintiff. See 28 U.S.C. § 1446(d).

8. This Notice of Removal is signed in compliance with Fed. R. Civ. P. 11.

WHEREFORE, Defendant TASER International, Inc. hereby removes this action now
pending in the Elkhart Circuit Court, State of Indiana, to the United States District Court for the

Northern District of Indiana.

   
 

Dated: January 27, 2012 Respectfully submitted,

/s/ Damon R. L&t
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Attorneys for Defendant TASER International, Inc.
CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing was served on the 27th day of
January 2012, by depositing the same in the United States Mail, first class postage prepaid and
ptoperly addressed to the following:

Douglas E. Sakaguchi
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Julie J. Havenith
Travelers Staff Counsel Office
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/s/ Damon eichty

 
  

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